     Case 2:21-cv-11969-VAR-CI ECF No. 5, PageID.45 Filed 11/17/21 Page 1 of 1




                           UNITED STATES DISRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

CHRISTOPHER JONES,

        Plaintiff,

v.                                                      Case No. 21-11969
                                                        Honorable Victoria A. Roberts
LYDALL, INC., ET AL.,

     Defendant.
____________________________________/

                                    ORDER OF DISMISSAL

        Plaintiff filed a Notice of Voluntary Dismissal With Prejudice Pursuant to Fed. R.

Civ. P. 41(a)(1)(A)(i). (Doc. #4)

        IT IS ORDERED that this matter is dismissed with prejudice.


                                                 s/ Victoria A. Roberts
                                                 Victoria A. Roberts
                                                 United State District Judge

Dated: 11/17/2021
